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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

PENNSYLVANIA STATE CONFERENCE
OF THE NAACP, et al.,

                   Plaintiffs,

       v.                                          Case No. 1:22-cv-00339-SPB

AL SCHMIDT, in his official capacity as
Acting Secretary of the Commonwealth, et al,

                   Defendants.



      INTERVENOR-DEFENDANTS’ RESPONSE TO PLAINTIFFS’ SECOND
 SUPPLEMENTAL MEMORANDUM REGARDING THE STATUS OF THE PENDING
              CROSS-MOTIONS FOR SUMMARY JUDGMENT

       Plaintiffs have informed the Court that the Pennsylvania Supreme Court just rejected yet

another state-law challenge to the date requirement. See ECF No. 465 at 1; New Pa. Project

Education Fund v. Schmidt, 2024 WL 4410884, at *1 (Pa. Oct. 5, 2024) (per curiam). They fail,

however, to tell the Court why.       The Pennsylvania Supreme Court held that it will not

“countenance” changes to the date requirement “during the pendency of [the] ongoing election.”

Id. As that court explained, its decision was rooted in “the Purcell principle” and “common sense.”

Id. (quoting Crookston v. Johnson, 841 F.3d 396, 398 (6th Cir. 2016)).

       The Pennsylvania Supreme Court is correct that the Purcell principle forecloses any

judicial changes to the enforceability of the date requirement for the ongoing 2024 General

Election in which mail voting has already begun. See, e.g., Purcell v. Gonzalez, 549 U.S. 1, 4-5

(2006); Democratic Nat’l Comm. v. Wis. State Legislature, 141 S. Ct. 28, 31 (2020) (Kavanaugh,

J., concurring) (“When an election is close at hand, the rules of the road should be clear and

settled.”); La Union Del Pueblo Entero v. Abbott, __F.4th__, 2024 WL 4487493, at *1-3 (5th Cir.
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Oct. 15, 2024) (granting Purcell stay of injunction entered in September 2024 after absentee voting

had commenced). This Court is bound by the Purcell principle and, thus, likewise may not enjoin

enforcement of the date requirement for the 2024 General Election. See ECF No. 455 at 1-2.

       Instead, for the reasons Intervenor-Defendants have explained, the Court should deny

Plaintiffs’ motions for summary judgment and grant Intervenor-Defendants’ motions. See ECF

Nos. 378, 388, and 393.

Dated: October 18, 2024                          Respectfully submitted,

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